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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
NUNEZ,                                                                 :
                                                                       :
                                    Plaintiff,                         :         11-CV-5845 (LTS)
                                                                       :
                  -v-                                                  :
                                                                       :
NEW YORK CITY DEPARTMENT OF                                            :
CORRECTIONS et al.,                                                    :
                                                                       X
                                    Defendants.

----------------------------------------------------------------------
                                                      ORDER

                  A conference in this matter is hereby scheduled to occur as a video conference on

Dec. 2, 2021, at 10:00am.

                  To optimize the quality of the video feed, only the Court, one representative each

of defense counsel, plaintiffs’ counsel, and counsel for the Government, and the Monitor and the

Deputy Monitor will appear by video for the proceeding; all others will participate by telephone.

The video participants are hereby directed to email SwainNYSDcorresp@nysd.uscourts.gov

their contact information 48 hours in advance of the hearing. Chambers will then email the

representative parties with further information on how to access the video call and, if requested,

a telephone number that may be used by additional representatives who wish to participate by

audio only. Those participating by video will be provided a link to be pasted into their browser.

The link should be used only at the time of the hearing. To optimize use of the video conference

technology, all those participating by video should:

             1. Log in from a quiet, stationary, non-public location, in order to minimize
                background noise and potential service interruptions.




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           2. Use the most recent version of Firefox, Chrome, or Safari as the web browser. Do
              not use Internet Explorer.

           3. Use hard-wired internet or WiFi. If using WiFi, the device should be positioned
              as close to the Wi-Fi router as possible to ensure a strong signal. (Weak signals
              may cause delays or dropped feeds.)

           4. Minimize the number of others using the same WiFi router during the hearing.

Further, all participants must identify themselves every time they speak, spell any proper names

for the court reporter, and take care not to interrupt or speak over one another.


                 Other co-counsel, members of the press, and the public may access the audio

 feed of the hearing by calling 888-363-4734 and using access code 1527005# and security

 code 4999#. All of those accessing the hearing — whether in listen-only mode or otherwise

 — are reminded that recording or rebroadcasting of the proceeding is prohibited. See Standing

 Order M-10-468, No. 21-MC-45 (S.D.N.Y. Jan. 19, 2021). Violation of these prohibitions

 may result in sanctions, including removal of court issued media credentials, restricted entry

 to future hearings, denial of entry to future hearings, or any other sanctions deemed necessary

 by the Court.

                 If Microsoft Teams does not work well enough and the Court decides to

 transition to its teleconference line, counsel should call 888-363-4734 and use access code

 1527005# and security code 4999#. (Members of the press and public may call the same

 number, but will not be permitted to speak during the hearing.) In that event, counsel should

 adhere to the following rules and guidelines during the hearing:

           1. Each party should designate a single lawyer to speak on its behalf (including when
              noting the appearances of other counsel on the telephone).

           2. Counsel should dial in from a quiet, stationary, non-public location, use a
              landline whenever possible, use a headset instead of a speakerphone, and mute
              themselves whenever they are not speaking, to minimize background noise and



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               service interruptions. In addition, counsel should not use voice-activated systems
               that do not allow the user to know when someone else is trying to speak at the
               same time.

           3. To facilitate an orderly teleconference and the creation of an accurate
              transcript, counsel are required to identify themselves every time they speak.
              Counsel should spell any proper names for the court reporter. Counsel should
              also take special care not to interrupt or speak over one another.

           4. If there is a beep or chime indicating that a new caller has joined while counsel
              is speaking, counsel should pause to allow the Court to ascertain the identity of
              the new participant and confirm that the court reporter has not been dropped
              from the call.



 SO ORDERED.


Dated: November 18, 2021                                    __/s/ Laura Taylor Swain____
       New York New York                                    LAURA TAYLOR SWAIN
                                                            United States District Judge




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